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                      UNITED STATES DISTRICT COURT

                     WESTERN DISTRICT OF LOUISIANA

                               MONROE DIVISION

 UNITED STATES OF AMERICA              *     CRIMINAL No.: 3:19-cr-200-01
                                       *
                                       *
 VERSUS                                *
                                       *
                                       *     JUDGE TERRY A. DOUGHTY
 JAMARVIN K. JACKSON             (1)   *     MAGISTRATE JUDGE HAYES

      UNITED STATES’ OPPOSITON TO DEFENDANT’S MOTIONS TO
                           SUPPRESS

       NOW INTO COURT, comes the United States of America, through the United

 States Attorney and undersigned counsel, who respectfully opposes the Defendant,

 Jamarvin K. Jackson’s, Motions to Suppress in globo and states the following:

 I.    PROCEDURAL AND FACTUAL BACKGROUND

       On January 26, 2019 at approximately 8:30 pm, the Family Stop and Shop

 convenience store located at 1403 Orange St was robbed at gunpoint. Members of the

 Monroe Police Department (“MPD”) made contact with the store clerk who advised

 that a robbery had just occurred. Upon arrival, MPD made contact with the clerk who

 advised that he was standing behind the cash register when a black male wearing a

 gray hoodie, black pants, black ski mask and a black hand gun, came inside of the

 store and pointed a black, possibly 9mm, gun and shot at him one time. The clerk

 advised that the suspect then took approximately $900.00 in cash and left the store

 heading eastbound on foot.
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       MPD watched the store video surveillance and observed the suspect entering

 the store from the east end of the store. The suspect appeared to come from behind

 the store. The suspect was observed pointing a handgun at the clerk and taking cash

 out of the clerk’s hands. The suspect then left the store heading eastbound behind the

 store on foot. The suspect was also wearing light color gloves during the robbery.

       Responding MPD officers circulated the area for the suspect but was unable to

 locate him. MPD did recover a $100.00 bill from outside of the store that may have

 been the money the suspect took during the robbery. MPD was able to locate one 9mm

 shell casing from on top of the counter area, where the suspect shot from.

       A review of the store surveillance video also revealed the presence and

 involvement of James Blackson, an individual known to MPD. Approximately one

 minute before the robbery, Blackson can be seen entering the store while carrying

 clothing on a hanger and talking on a cell phone. He walks around the store briefly

 (i.e., approximately 10 seconds) without purchasing anything and then leaves.

 Blackson walks to the west of the business as Jackson approaches from the back of

 the eastside of the convenience store. Law enforcement suspected that Blackson may

 have acted as a lookout for Jackson.

       MPD conducted a post-Miranda interview of Blackson on February 7, 2019.

 Blackson denied any knowledge of involvement related to the Family Stop and Shop

 robbery that occurred on January 26, 2019. Subsequently MPD applied for and

 received a search warrant for Blackson’s service provider, AT&T.




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       On February 18, 2019 at approximately 9:10 p.m., MPD responded to 1521 N

 18 St. in reference to a battery that occurred in the 2500 block of Ferrand Street Upon

 arrival, the victim reported that while at an apartment located in the 2500 block

 Ferrand Street, Jasmine Blair and Jamarvin Jackson hit her several times with a

 closed fist without her permission. The victim went on to provide details related to

 the physical assault to MPD. MPD observed a small cut to the inside of the victim’s

 upper lip. MPD searched the area of Ferrand Street for Blair and Jackson but was

 unable to locate either at that time.

       Later that same evening at approximately 10:00p.m., MPD was dispatched to

 2701 South Grand Street regarding a shots fired call. MPD spoke with the 911 caller

 and other witnesses, who each reported hearing approximately four (4) to five (5)

 gunshots. The on-scene witnesses also advised MPD about the earlier incident, that

 a dark colored sedan was seen speeding North on South Grand Street after the

 gunshots were heard, and their belief that Jackson was connected to this shooting

 incident. A search of the area revealed four (4) 9mm Luger casings on Hippolyte

 Avenue lying in the roadway in front of 2701 South Grand Street. There was also a

 bullet hole through the back glass of a Nissan Maxima bearing LA tag 705BWD

 belonging to the mother of the victim in the 9:10p.m. incident earlier that evening.

 The path of the bullet traveled from the back windshield through the driver head rest

 and lodged into the AC vent. MPD was able to recover the lead bullet from the car.

 MPD collected the casings and bullet and logged them into evidence.




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       Four days later on February 22, 2019, NIBIN analysis of the shell casings

 revealed that the weapon used in the robbery of the Family Stop & Shop matched

 shell casings recovered from the scene of damage to property reported to MPD on

 February 18th in which a several gunshots were fired at a vehicle parked in the

 driveway of a residence on South Grand Street.

       On February 27, 2019, MPD interviewed a victim from the February 18th

 assaults. According to the victim, she met Jackson around July 2018 and developed

 a relationship with him despite being married. She advised that she met Jackson’s

 friend, James Blackson. She described Blackson as Jackson’s best friend and that

 they always hung out together. According to the victim, she had seen Jackson in

 possession of a gun in his car describing an incident when the gun slid out from

 underneath his seat. She described the gun as black and some kind of millimeter.

 From that point forward, she claims to have regularly seen Jackson with a firearm.

 She also provided the phone number to Jackson's cell phone, adding that the phone

 number was the only number used by Jackson to contact her since she first met him

 in July of 2018.

       MPD received the results of the Blackson cell phone search warrant following

 the victim’s interview. A review of the cell phone activity revealed that at 8:03 pm a

 phone call was made by Blackson to Jackson. The duration of the call was 25 minutes

 and 38 seconds. When compared to the time stamp of surveillance footage from

 Family Stop & Shop, the phone call to Jackson began prior to Blackson arriving at

 the store and in the view of surveillance cameras and ends around the time that



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 Jackson enters the business. MPD also reviewed other information including social

 media postings related to Blackson and Jackson and their background.

       Beginning on February 28, 2019, MPD sought and obtained a series of arrest

 and search warrants for Jackson and Blackson. First, MPD was granted an arrest

 warrant for Jackson on February 28, 2019 for armed robbery, conspiracy to commit

 armed robbery, and possession of a firearm by a convicted felon. The arrest warrant

 contained the 1401 Erin Street, Apartment 265 address along with Jackson’s other

 personal identifiers. This affidavit identified two prior felony convictions Jackson:

 Negligent Homicide and Second Degree Battery along with other arrests for domestic

 violence and possession of controlled dangerous substances. Second, MPD was

 granted a search for 1401 Erin Street, Apartment 265 on March 1, 2019 by the same

 judge that authorized the arrest warrant the previous day. The search warrant also

 applied to the vehicle registered to the defendant, a gray 1998 Grand Marquis, which

 was recently observed by members of MPD parked in the parking lot outside of 1401

 Erin Street apartment. Third, on March 6, 2019, MPD obtained a search warrant for

 Jackson’s DNA. Fourth, on March 8, 2019, MPD obtained a search warrant for

 Jackson’s cell phone, which was located inside the residence of 1401 Erin Street when

 he was arrested and taken into custody. The affidavit in support of the cell phone

 search warrant contained no facts or evidence derived from 1401 Erin Street.

       On June 26, 2019, the Grand Jury indicted the defendant, Jamarvin K.

 Jackson, in a six count indictment alleging violations of Title 18, United States Code,

 Sections 1951(a), 924(c)(1)(A), and 922(g) as well as Title 21, United States Code,



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 Sections 841(a)(1) and (b)(1)(D). Doc. No. 1. Count 4 of the Indictment alleged that

 on or about March 6, 2019, the defendant knowingly and intentionally possessed with

 the intent to distribute a mixture and substance containing a detectable amount of

 marijuana, a Schedule I controlled substance. Id. The indictment also contained a

 Forfeiture Notice. One other codefendant was charged in the indictment for his

 alleged role in the Hobbs Act robbery that occurred on or about January 26, 2019.

 Trial is presently set for October 21, 2019. Doc. No. 35.

        Now before the court are the defendant’s three Motions to Suppress and

 Request for a Frank’s Hearing. Doc. Nos. 63, 64, and 65.1 Specifically, the defendant

 contends the following in support of suppression:

        1.) There was no nexus between 1401 Erin Street, Apartment 265 and
            the evidence sought in the search warrant;

        2.) The residential search warrant affidavit was stale;

        3.) The residential search warrant was a general warrant; and

        4.) The search warrants for the defendant’s DNA and cell phone are fruit
            of the poisonous tree. Id.

 For reasons discussed below, the defendant’s request and motions should be denied.

 II.    LAW AND ARGUMENT

        A. Jackson Does Not Have Standing to Object

        Before the court considers Jackson’s claims of constitutional violations, he

 must first establish that he has standing to seek suppression of the evidence obtained



 1 Undersigned counsel had an erroneous due date docketed on the calendar for the Government’s
 response to the Motions to Suppress which accounts for the untimely response to the defendant’s
 motions.

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 on March 6, 2019.     A court’s determination regarding standing to challenge an

 allegedly illegal search is subject to de novo review and its factual underpinnings are

 reviewed for clear error. United States v. Riazco, 91 F.3d 752, 754 (5th Cir. 1996);

 United States v. Smith, 273 F.3d 629, 632 (5th Cir. 2001). The proponent of the

 motion to suppress bears the burden of establishing that the evidence was obtained

 in violation of his Fourth Amendment rights by a preponderance of the evidence

 standard. Id.

       The Fourth Amendment guarantees “the right of the people to be secure in

 their persons, houses, papers, and effects, against unreasonable searches and

 seizures.” U.S. Const. Amend. IV. Standing to contest a search on Fourth Amendment

 grounds requires a “legitimate expectation of privacy in the invaded place,” and this

 expectation “must be ‘personal’ and ‘reasonable’” and “have a source outside the

 Fourth Amendment, either by reference to the concepts of real or personal property

 law or to understandings that are recognized and permitted by society.’” United

 States v. Hernandez, 647 F.3d 216, 220 (5th Cir. 2011)(quoting Minnesota v. Carter,

 525 U.S. 83, 88 (1998)). Overnight guests in a home may claim protection of the

 Fourth Amendment, but one who is merely present with consent of the householder

 may not. Minnesota v. Carter, 525 U.S. 83, 90 (1998); see also United States v. Rios-

 Davila, 530 Fed. Appx. 344 (5th Cir. 2013) (invited visitor at residence did not have

 standing to challenge search that began when officers entered backyard without

 probable cause). Court’s held that status as an invited visitor is insufficient to confer

 standing to challenge a police search. United States v. Majors, 328 F.3d 791, 795 (5th



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 Cir. 2003) (concluding that the defendant lacked standing to challenge the search of

 a house since he was “merely a visitor.”). Alternatively, a defendant who has standing

 may lose it if he did or said something, before evidence was discovered, that

 eliminated his privacy expectations in the evidence or in the place in which the

 evidence was found. One has no standing to complain of a search or seizure of

 property he has voluntarily abandoned. Abel v. United States, 362 U.S. 217, 240-241

 (1960).

       The test for standing under the Fourth Amendment is whether governmental

 officials violated any legitimate expectation of privacy held by the party seeking to

 exclude the evidence obtained through the challenged search or seizure. United

 States v. Lanford, 838 F.2d 1351, 1353 (5th Cir. 1988)(quoting United States v. Parks,

 684 F.2d 1078, 1082 (5th Cir. 1982)). Specifically, there is a two-part test. First, did

 the defendant establish an actual, subjective expectation of privacy with respect to

 the place being searched or items being seized. Riazco, 91 F.3d at 754. Second, the

 inquiry shifts to whether that expectation of privacy is one which society would

 recognize as objectively reasonable. Id.

       In this case, the defendant provides an affidavit by the sole leaseholder to

 apartment 265 located at 1401 Erin Street as proof that the defendant in fact resided

 at 3513 Parkland Street at the time of the execution of the search warrant. Doc. No.

 63-3, pps. 9-13. Jasmine Blair, the documented leased holder for Apt. 265, contends

 that the defendant periodically spent the night at her home but never resided at the

 Apartment on Erin Street. Id. What is known is that both the defendant and the



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 apartment leaseholder, Ms. Blair, were in the residence at the time of the search.

 The defendant’s car was parked outside in the parking lot as was stated in the

 affidavit accompanying the search warrant. The defendant’s presence, by his own

 characterization, makes him a mere visitor and thus he had no actual, subjective

 expectation of privacy with respect to the place being searched or items being seized

 in Ms. Blair’s apartment.

       The Government acknowledges the affidavit for the residential search warrant

 could have been written more clearly in some respects. However, there was a nexus

 between the place to be searched and the items to be seized as will be established

 during the evidentiary hearing in this matter. MPD’s investigation which included

 witness interviews, criminal history checks, review of social media and public

 internet data, physical surveillance, etc. indicated that Jackson was presently located

 at Ms. Blair’s apartment, that his car was on the premises and in which he had

 previously been seen with firearms, and given the most recent assaults, that there

 was probable cause to believe evidence of a crime would be located there.

       B. March 1st Affidavit Not Stale Given Criminal Conduct Spanning January
          and February

       Stale information in an affidavit cannot support probable cause. “The proof

 must be of facts closely related in time to the issuance of the warrant in order to

 justify a finding of probable cause at that time.” United States v. McKeever, 5 F.3d

 863, 866 (5th Cir.1993). When evaluating the staleness of information in an affidavit,

 the court considers the particular facts of the case, including the nature of the

 unlawful activity and of the evidence sought, especially whether the evidence “is of

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  the sort that can reasonably be expected to be kept for long periods of time in the

  place to be searched.” United States v. Craig, 861 F.2d 818, 822–23 (5th

  Cir.1988).” United States v. Robinson, 741 F.3d 588 (5th Cir.2014). Even

  if stale information cannot support probable cause, however, officers may be able to

  execute a warrant in good faith. “To prevail on his fourth amendment claim,

  [Gallegos] must establish that the facts alleged in the affidavit were so dated that no

  reasonable officer could have believed that the affidavit established probable

  cause....” United States v. Pena–Rodriguez, 110 F.3d 1120, 1130 (5th Cir.1997).

        In this case, the information establishing probable cause to search

  was not stale. MPD worked for weeks to develop and identify suspects in the armed

  robbery of the convenience store and the subsequent assaults that were reported in

  mid-February 2019. The latter February 2019 assault involved a firearm given the

  bullet holes in the innocent victim’s car. It is common sense that firearms, unlike

  drugs, are durable goods and are useful to the owners for long periods of time. United

  States v. Singer, 934 F.2d 758, 763 (7th Cir. 1991). Gun owners typically do not shoot

  their firearms only once and then discard them. Jackson’s role in the aggravated

  assault occurring on South Grand Street provided evidence establishing his identity

  as the armed robber of the Family Stop & Shop and established probable cause to

  believe that he was still in possession of evidence related to the armed robbery i.e.,

  the gun. Therefore, it cannot be credibly maintained that the facts articulated in the

  affidavit were out of date.




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        C. The Residential Search Warrant Was Sufficiently Particular

        The search warrant affidavit makes clear that MPD sought evidence related to

  the defendant’s unlawful possession of firearms as well as evidence related to armed

  robbery. Probable cause to search means "a fair probability that contraband or

  evidence of a crime will be found in a particular place." Illinois v. Gates, 462 U.S. 213,

  238 (1983). The Fourth Amendment requires that a warrant describe with

  "particular[ity] ... the place to be searched and the persons or things to be seized."

  The particularity requirement also appears in Federal Criminal Procedure Rules

  4(b)(1) (arrest warrants) and 41(e)(2) (search warrants). "It is enough if the

  description is such that the officer with a search warrant can, with reasonable effort

  ascertain and identify the place intended." Steele v. United States, 267 U.S. 498, 503

  (1925).   A “general search warrant” is one that permits a general exploratory

  rummaging in a person’s belongings. U.S. Const. Amend. IV. The test applied by

  courts is “whether the warrant would permit no discretion to the executing officer in

  seizing evidence pursuant to the warrant.” United States v. Chinwoh, 477 Fed.Appx.

  184, 185 (5th Cir. 2012)(affirming denial of motion to suppress). In the instant case,

  the evidence sought was not overbroad or vague. MPD both arrested the defendant

  and executed a search of apartment 265. The defense does not challenge the arrest

  warrant obtained for the Defendant. During the course of the execution of both

  warrants, Ms. Blair reportedly denied knowledge or ownership of the items

  discovered by law enforcement. Items recovered included ammunition, suspected

  controlled substances, and drug paraphernalia located out in the open throughout the



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  apartment. If the court concludes the items were authorized pursuant to a “general

  search warrant,” such items would have been obtained as a result of a search incident

  to arrest. MPD sought the firearm used in the armed robbery as well as clothing that

  appeared in the store surveillance video. The defendant’s claims largely focus on the

  rights of Ms. Blair. However, as previously stated she is not a party to this case.

        D. Law Enforcement Acted in Good Faith

        In instances where law enforcement did not have valid probable cause to

  execute a search warrant, the government may not use evidence seized during an

  unlawful search as proof against the victim of the unlawful search at criminal trials.

  See Wong Sun v. United States, 371 U.S. 471, 484 (1963). This "exclusionary rule"

  also includes the "fruit of the poisonous tree." Exclusion is not constitutionally

  required, but instead is a "judicially created means of deterring illegal searches and

  seizures." Penn. Bd. of Prob. & Parole v. Scott, 524 U.S. 357 (1998). It is applied "only

  where its deterrence benefits outweigh its substantial social costs." Id. (internal

  quotation marks omitted). Suppression of evidence through the rule "has always been

  our last resort, not our first impulse." Hudson v. Michigan, 547 U.S. 586, 591 (2006).

        The exclusionary rule is not "a personal constitutional right of the party

  aggrieved." United States v. Calandra, 414 U.S. 338, 348 (1974), and the rule "does

  not proscribe the introduction of illegally seized evidence in all proceedings or against

  all persons." Penn. Bd. of Prob., id. at 363 (internal quotation marks omitted).

        The Supreme Court created a "good faith" exception to the exclusionary rule in

  United States v. Leon, 468 U.S. 897 (1984). Evidence obtained pursuant to a



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  seemingly valid search warrant that was later found to be defective for lack of

  probable cause was admissible because the officers had reasonably relied on the

  magistrate's determination that the warrant was supported by probable cause. See

  United States v. Raymonda, 780 F.3d 105 (2d Cir. 2015), for an illustrative example

  of the application of this exception.

         The Leon Court stated that the good faith exception will not apply in limited

  circumstances: (1) where “the magistrate or judge in issuing a warrant was misled by

  information in an affidavit that the affiant knew was false or would have known was

  false except for his reckless disregard of the truth”; (2) “where the issuing magistrate

  wholly abandoned his judicial role in the manner condemned in Lo–Ji Sales, Inc. v.

  New York, 442 U.S. 319 (1979)”; (3) where the affidavit is “so lacking in indicia of

  probable cause as to render official belief in its existence entirely unreasonable”; and

  (4) “depending on the circumstances of the particular case, a warrant may be so

  facially deficient—i.e., in failing to particularize the place to be searched or the things

  to be seized—that the executing officers cannot reasonably presume it to be valid.”

  Leon, 468 U.S. at 923. The good faith exception and these rules apply even where the

  issuance of the warrant is invalid, such that, technically, the search was warrantless

  at the time it occurred.

         In Illinois v. Krull, 480 U.S. 340 (1987), the good-faith exception was applied

  to evidence obtained by police acting in objectively reasonable reliance on a statute

  that was subsequently found to violate the Fourth Amendment.               In Hudson v.

  Michigan, 547 U.S. 586 (2006), police violated the knock and announce rule, a rule



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  with roots in the common law, statute, and the Fourth Amendment. The Supreme

  Court ruled that the exclusionary rule did not apply. "Suppression of evidence ..., has

  always been our last resort, not our first impulse." There must be more than a "but

  for" relationship between the illegality and the seizure. Suppression does not apply

  where the connection is attenuated. Attenuation occurs when the relationship

  between the illegality and the seizure is remote, and it also "occurs when, even given

  a direct causal connection, the interest protected by the constitutional guarantee that

  has been violated would not be served by suppression of the evidence obtained."

        In Herring v. United States, 129 S.Ct. 695 (U.S., Jan. 14, 2009), the Supreme

  Court found that the exclusionary rule did not apply to require suppression of drugs

  and a firearm found by officers in a search incident to arrest of a defendant, whom

  officers unlawfully arrested after receiving incorrect information from a sheriff's

  department warrant clerk that a warrant was outstanding for his arrest. Even

  though the Court assumed that the defendant was unlawfully arrested, it decided not

  to apply the exclusionary rule, noting "[t]he fact that a Fourth Amendment violation

  occurred—i.e., that a search or arrest was unreasonable—does not necessarily mean

  that the exclusionary rule applies." Id. at 700. In declining to apply the exclusionary

  rule on these facts, the Court explained that "the exclusionary rule serves to deter

  deliberate, reckless, or grossly negligent conduct, or in some circumstances recurring

  or systemic negligence. The error in this case does not rise to that level." Id. at 702.

        The Court's rationale for this decision was tethered to several guideposts,

  namely: (1) "the exclusionary rule is not an individual right and applies only where



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  it 'result[s] in appreciable deterrence,'" id. at 700 (quoting Leon, 468 U.S. at 909); (2)

  "the benefits of deterrence must outweigh the costs," id. at 700; (3) "the extent to

  which the exclusionary rule is justified by these deterrence principles varies with the

  culpability of the law enforcement conduct," id. at 701; (4) "the pertinent analysis of

  deterrence and culpability is objective, not an inquiry into the subjective awareness

  of arresting officers," id. at 703 (quotations omitted); (5) "when police mistakes are

  the result of negligence such as that described here, rather than systemic error or

  reckless disregard of constitutional requirements, any marginal deterrence does not

  `pay its way,' " id. at 704. In footnote four of the opinion, the Court suggests that

  merely negligent conduct is insufficient to invoke the exclusionary rule because it

  provides only a marginal deterrent effect. See id. at 702 n.4.

        In Davis v. United States, 131 S.Ct. 2419 (2011), the Supreme Court declined

  to apply the exclusionary rule to a search that was legal under New York v. Belton,

  453 U.S. 454 (1981), but violated Arizona v. Gant, 129 S.Ct. 1710 (2009), and was

  conducted before Gant was decided. "[W]e hold that searches conducted in objectively

  reasonable reliance on binding appellate precedent are not subject to the exclusionary

  rule. The Court rejected the Petitioner's argument that it was a retroactivity, not

  exclusionary rule, issue, reasoning that applying a rule retroactively does not dictate

  the remedy. Gant applied retroactively, "But exclusion of evidence does not

  automatically follow from the fact that a Fourth Amendment violation occurred."

        In Messerschmidt v. Millender, 132 S.Ct. 1235 (2012), the Supreme Court held

  that police officers were entitled to qualified immunity in a suit alleging that they



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  obtained a search warrant without probable cause because it was "entirely

  unreasonable" for an officer to believe that there was probable cause, especially where

  the warrant was signed by a detached and neutral magistrate. "On top of all this, the

  fact that the officers sought and obtained approval of the warrant application from a

  superior and a deputy district attorney before submitting it to the magistrate

  provides further support for the conclusion that an officer could reasonably have

  believed that the scope of the warrant was supported by probable cause."

  Messerschmidt v. Millender, id. at 1249. The "decision is significant for criminal law

  as well as for civil suits under Section 1983, because the Court has held, and

  reaffirmed today, that the test for the good faith exception to the exclusionary rule is

  the same as the test for qualified immunity." See also United States v. Needham, 718

  F.3d 1190 (9th Cir. 2013) (court decision on Leon issue controlled by § 1983 case); but

  see United States v. Underwood, 2013 WL 3988675 (9th Cir. Aug. 6, 2013)

  (distinguishing Messerschmidt).

        The Second, Fifth, Sixth, and Eighth Circuits have applied the good-faith

  exception to save search warrants that contain information tainted by earlier police

  illegality. See, e.g., United States v. Massi, 761 F.3d 512 (5th Cir. 2014)

  (collecting cases). Massi was arrested under circumstances that the court later

  determined were short of probable cause. The defendant argued that a later search

  warrant, obtained by the same law enforcement team, was fruit of the poisonous tree.

  The Fifth Circuit rejected this argument.

        Two separate requirements must be met for evidence to be admissible:
        (1) the prior law enforcement conduct that uncovered evidence used in

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         the affidavit for the warrant must be "close enough to the line of validity"
         that an objectively reasonable officer preparing the affidavit or
         executing the warrant would believe that the information supporting
         the warrant was not tainted by unconstitutional conduct, and (2) the
         resulting search warrant must have been sought and executed by a law
         enforcement officer in good faith as prescribed by Leon.

         ****

         Agent Howard did not have the benefit of our judicial hindsight as he
         worked to obtain and execute a search warrant. To suppress the
         evidence derived from this warrant would not serve the interest of
         deterring future constitutional violations.

  See also United States v. Wright, 2015 WL 507169 (3d Cir. Feb. 06, 2015) (agent

  inadvertently did not serve a copy of the list of items to be seized); United States v.

  Cruz, 2014 WL 7242833 (10th Cir. Dec. 22, 2014) (unsigned warrant); see United

  States v. Bershchansky, 2015 WL 3513759 (2d Cir. Jun. 05, 2015)(regarding errors

  in the address). In this case, MPD acted in good faith in obtaining each arrest and

  search warrant related to the investigation stemming from the January 26th armed

  robbery. The affidavits articulated Jackson’s conduct and how law enforcement was

  able to develop probable cause of his involvement in the crimes as well as his current

  location at the time during which he would be arrested and taken into custody. In

  particular, the affidavit for the defendant’s cell phone contained no new facts

  stemming from the execution of the warrants on March 6th and such evidence should

  not be suppressed as fruit of the poisonous tree.

  III.   CONCLUSION

         For the foregoing reasons, all evidence should be admitted. The Government

  will present testimony and evidence during the evidentiary hearing to rebut the



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  contentions in the defendant’s motions to suppress.    Therefore, the Government

  requests that the motions to suppress be denied.



                                               Respectfully submitted,

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